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UAET (02-2008)




                 Unopposed Application for Extension of Time to Answer Complaint
                     Attach this form to the Application for Extension of Time to Answer Complaint event.



C ASE   AND      D EADLINE INFORMATION



Civil Action No.: 2:18-cv-483-JRG
Name of party requesting extension: BIScience Inc.
Is this the first application for extension of time in this case?                             Yes
                                                                                          ✔ No
            If no, please indicate which application this represents:                     ✔ Second
                                                                                              Third
                                                                                              Other ___________
Date of Service of Summons: 11/21/2018
Number of days requested:                        30 days
                                            ✔ 15 days
                                                 Other _____ days
New Deadline Date: 01/28/2019 (Required)


A TTORNEY FILING       APPLICATION INFORMATION




            Full Name: Eric H. Findlay
            State Bar No.: 00789886
            Firm Name: Findlay Craft, P.C.
            Address: 102 North College Avenue
                         Suite 900
                         Tyler, Texas 75702
            Phone: 903-534-1100
            Fax: 903-534-1137
            Email: efindlay@findlaycraft.com
                  A certificate of conference does not need to be filed with this unopposed application.
